
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a0759-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a0729-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0739-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0750-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0753-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0159-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0757-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0859-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0779-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0789-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0799-15.pdf (mistyped character)


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